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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,

           v.                                     Case No. 16 C 5528

JAVIER REYES,                                 Judge Harry D. Leinenweber

                       Defendant.




                                   ORDER
     Defendant’s Motions under 28 U.S.C. § 2255 to vacate, set
aside, or correct his sentence (Dkt. Nos. 6, 8) are denied.
Defendant’s Motion for Reappointment of Counsel (Dkt. No. 27) is
denied as moot.

                               STATEMENT
     In 2005 Reyes was charged with conspiracy to rob a credit

union in violation of 18 U.S.C. § 371 (Count I), bank robbery in

violation of U.S.C. $ 2113(A) (Count II), and possession and

brandishing of a fire arm in furtherance of a crime of violence in

violation of 18 U.S.C. § 924 (C)(1)(a) (Count III).                At the time

of the actual robbery he was on vacation and the robbery was

carried out by his three co-defendants.             The evidence disclosed,

although he was not present at the time of the robbery, that

nevertheless he had assisted the three others in planning the

robbery by providing necessary insider information concerning the
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credit union by virtue of the fact that he was its loan officer.

One of the participants, in carrying out the crime, brandished a

gun against the only credit union employee on duty in order to

make him divulge the combination to a safe.                Reyes had provided

the gun.      Reyes was convicted on all three counts by a jury.

     The presentence report (PSR) recommended to the court that

his advisory guideline range, prior to consideration of possible

career offender status, was 346 to 411 months, based on an offense

level of 34 and a criminal history category of VI.                The PSR also

recommended that Reyes be considered a career offender under

Guideline §§ 4B1.1(a), 4B1.1(c)(2)(A) and (B), and 4B1.1(c)(3),

based    on    prior   convictions      of     attempted   murder,     voluntary

manslaughter, and burglary.            This recommendation increased his

advisory guideline range of imprisonment to 360 months to life.

The court adopted the recommendations as to the offense level, the

criminal history classification, and the career offender status.

The court however granted a variation from the application of the

guidelines and sentenced him to a 60-month sentence on Count One

to be served concurrently with a 216-month sentence on Count Two,

to be followed consecutively with a 84-month sentence on Count

Three,   for    a   total   of   300   months,    well   below   the   guideline

minimums.

     Reyes appealed his conviction to the Seventh Circuit alleging

a number of errors, but did not include a challenge to the career

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offender designation or to the legal or factual sufficiency of the

evidence underlying his convictions under § 371, § 2113(a), or

§ 924(c).    The convictions were affirmed on September 5, 2008.

United States v. Reyes, 42 F. 3d 588 (7th Cir. 2008).

     Reyes filed his first § 2255 motion on December 23, 2009,

alleging that his counsel had been ineffective regarding various

trial issues.      He did not challenge either his sentence or his

designation as a career offender.          The motion was denied on March

11, 2011, and the District Court declined to grant a certificate

of appealability.

     On April 29, 2016, Reyes sought and received permission from

the Seventh Circuit to file a second or successive § 2255 petition

seeking relief pursuant to Johnson v. United States, 135 S. Ct.

2551 (2015), arguing that the prior convictions that were used to

support his career offender status ran afoul of Johnson.                 On June

27, 2016, Reyes filed his § 2255 motion arguing that the residual

clause of $ 924(c)(3)(B) was unconstitutionally vague so that Count

I conspiracy to commit bank robbery pursuant to § 371 and Count II

bank robbery pursuant to § 2113(a) did not qualify as crimes of

violence under the § 924(c)(B) residuary clause.              On September 5,

2017, and on April 24, 2018, Reyes moved to amend his previous

petitions again arguing that bank robbery under § 2113(a) and § 371

did not qualify as crimes of violence.



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       The problem with Reyes’ reliance on Johnson is that Johnson’s

determination that the Section 924(c)(B) residuary clause was

unconstitutionally vague does not apply to the United States

advisory     guidelines.     The   Supreme     Court    pointed    out    that     the

guidelines, unlike § 924(c)(B), do not implicate the two main

concerns underlying the vagueness doctrine—providing notice and

preventing arbitrary enforcement.                   “That is because even if a

person behaves so as to avoid an enhanced sentence under the

career-offender guideline, the sentencing court retains discretion

to impose the enhanced sentence.”               Had the guidelines remained

mandatory the answer may well have been different. However Booker

took care of that.       United States v. Booker, 125 S. Ct. 738 (2005).

The Booker court also wrote that the advisory guidelines did not

implicate the vagueness doctrine’s other concern being arbitrary

enforcement. This is because the guidelines do not regulate the

public by prohibiting any conduct or by establishing minimum and

maximum penalties for any crime.             Instead the guidelines “advise

sentencing courts how to exercise their discretion within bounds

established by Congress.” This is made even clearer where the

sentencing courts are directed to consider numerous other factors,

in   addition     to   the   guidelines,       in    determining   a     reasonable

sentence.      See §§ 3553(a)(1)-(3), (5)-(7).

       This case itself demonstrates the difference between Johnson

and Beckles.       Here the court determined that Reyes was a career

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criminal, yet nevertheless granted him a variance and sentenced

him to a term that was well below the minimum of both the offense

guideline range of imprisonment (346-411 months) and the career

offender guideline range (360 to life).

     There being no constitutional problem with the sentencing of

Reyes, the 2255 motions (Dkt. Nos. 6, 8) are denied. The Motion

for Reappointment of Counsel (Dkt. No. 27) is denied as moot.




                                             Harry D. Leinenweber, Judge
                                             United States District Court

Dated: 5/28/2019




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